Case 1:20-cr-00057-GBD Document 529

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

we eee ee ee eee Xx
UNITED STATES OF AMERICA,
-against- :

QUAVEON ROSS, :
Defendant. :

wee eee ne ee ee ee ee eee eee x

GEORGE B. DANIELS, United States District Judge:

Filed 07/14/22 Pagelof1

ORDER

20 Crim. 57-21 (GBD)

At Defendant’s request, the sentencing scheduled for August 17, 2022 is adjourned to

September 7, 2022 at 10:00 a.m.

The Clerk of the Court is directed to close the open motion at ECF No. 528.

Dated: July 14, 2022
New York, New York

SO ORDERED.

Npin l L> & Dorel,

GARG EJB. DANIELS

ited States District Judge
